   Case 6:21-cv-00346-ADA    Document 121   Filed 04/28/22   Page 1 of 12




                   IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF TEXAS
                              WACO DIVISION

RED ROCK ANALYTICS LLC,
            Plaintiff,
                                      Case No. 6:21-cv-00346-ADA

  v.
                                      JURY TRIAL DEMANDED
                                      FILED UNDER SEAL
APPLE INC., QUALCOMM INC.,

            Defendants.

        DEFENDANTS QUALCOMM INCORPORATED AND APPLE INC.’S
            SUR-SUR-REPLY IN SUPPORT OF THEIR MOTION TO
       TRANSFER VENUE TO THE NORTHERN DISTRICT OF CALIFORNIA
      Case 6:21-cv-00346-ADA                           Document 121                  Filed 04/28/22               Page 2 of 12




                                                  TABLE OF CONTENTS




A.      RRA’s New Theories Disregard Defendants’ Declarations and Testimony ...................... 1
     RRA’s new DSP hardware arguments .................................................................................... 1
     RRA’s new Samsung arguments ............................................................................................ 2
     Defendants’ employees ........................................................................................................... 2
     Other Issues ............................................................................................................................. 5
B.      RRA Cannot Game Transfer Through Its Stipulations ....................................................... 5




                                                                      i
Case 6:21-cv-00346-ADA   Document 121   Filed 04/28/22   Page 3 of 12
Case 6:21-cv-00346-ADA   Document 121   Filed 04/28/22   Page 4 of 12
Case 6:21-cv-00346-ADA   Document 121   Filed 04/28/22   Page 5 of 12
      Case 6:21-cv-00346-ADA           Document 121        Filed 04/28/22      Page 6 of 12




       This brief focuses on the most salient defects in RRA’s sur-reply and Murias’s latest ipse

dixit declaration, both of which ignore the record and resort to pure fabrication.

       A.      RRA’s New Theories Disregard Defendants’ Declarations and Testimony

       Shifting to new theories on sur-reply,1 RRA tacitly admits that it has not rebutted

Defendants’ showing that this case should be transferred to NDCA.

       RRA’s new DSP hardware arguments: RRA has not rebutted Qualcomm’s sworn

declarations that, to the extent hardware is implicated in this case, that hardware is



                                                                                     . See also Dkt.

101 at 11 n.4. RRA resorts to claiming (incorrectly)

                                                                . Dkt. 109 at 8-9; Dkt. 109-1 ¶ 23.

But the Qualcomm Hexagon v66 Programmer’s Reference Manual (“PRM”), provided months

ago in response to RRA’s request for additional information about the DSP code, confirms the

“specialized math functions” are generic instructions (known as “intrinsics”) that run on a general-

purpose DSP. Ex. KK; Ex. LL at 1, 17, 26, 387, 462, 466-68. Murias’s statement that



            is baseless, incorrect, and demonstrates the broad unreliability of Murias’s speculative

opinions. Dkt. 109 at 9; Dkt. 109-1 ¶ 23. Moreover, the inventor admitted

                                                      , just like the numerous claimed hardware

elements found to be “tangential” in DataQuill. Similarly, Murias’s guess



1
 Murias’ Suppl. Decl. should be excluded for the same reasons as his Initial Declaration. Dkt. 101
at Sec. I (e.g., Murias has no requisite experience or knowledge regarding Qualcomm, Apple, or
SAS (               ), and his opinions rely on false assumptions rebutted by Defendants’
declarations). Murias’s new opinions also improperly introduce new evidence on sur-reply.



                                                 1
Case 6:21-cv-00346-ADA   Document 121   Filed 04/28/22   Page 7 of 12
      Case 6:21-cv-00346-ADA           Document 121       Filed 04/28/22      Page 8 of 12




agree a potential witness’s knowledge must be “relevant and material.” In re Genentech, Inc., 566

F.3d 1338, 1343 (Fed. Cir. 2009) (emphasis added). But RRA takes that standard too far in the

other direction. For example, not every Defendant employee who has some knowledge regarding

iPhone and iPad sales is relevant. It makes no sense for Apple or RRA to call someone like




                                                              The standard cannot be that anyone

who knows about an iPhone sale or is familiar with I-Q calibration from their academic studies is

a potential witness in this case. Red Rock is unable to demonstrate more than tangential knowledge

from any of the employees it identifies, and its arguments are not grounded in the evidence.

       RRA’s contention that it is unrebutted that                                 understand I-Q

calibration is wrong. Dkt. 109 at 10.



                         Sworn declarations confirm that neither has relevant knowledge. Dkt. 101

at 16; Dkt. 74-13 ¶¶ 4-13, Ex. A; Dkt. 74-14 ¶¶ 8-9, 8.e.iv. RRA wrongly argues that Qualcomm

offers no rebuttal for                   . Dkt. 109 at 8. But Qualcomm demonstrated that neither

has relevant knowledge. Dkt. 101 at 12; Dkt. 74-13 ¶¶ 6-12, 19, Ex. A.



                                                                 RRA’s assertion that Qualcomm

does not show “the relevance and materiality” of California witnesses ignores the identification of

specific individuals and their relevance. Dkt. 45 at 2-4, 11-12; Dkt. 109 at 5-6. RRA likewise

asserts that Apple’s California witnesses are irrelevant because Apple

                                                                                      , but Apple




                                                3
      Case 6:21-cv-00346-ADA           Document 121        Filed 04/28/22        Page 9 of 12




identified the relevant individuals



       Similarly for Apple, RRA asserts that Mr. Rollins “did not investigate”

                                       but Mr. Rollins did not need to

                                                           —nor should such an investigation be

required—

                                                     Contrary to RRA’s argument that “Defendants

have presented no evidence that




                                       And while RRA asserts, “

                        in Austin are relevant” (Dkt. 109 at 6), the employees

                             will not be witnesses. Apple submitted unrebutted fact declarations

showing that the individuals identified by Weinstein have

                                                                                         Weinstein

speculated that



              Apple looked for the witnesses who can provide a useful scope of marketing,

licensing, and financial information in this case; they are in California. Dkt. 45-17 ¶¶ 11-15.

       RRA’s argument that Murias’s testimony that

                                                                            identifies an infringing




                                                 4
     Case 6:21-cv-00346-ADA           Document 121        Filed 04/28/22     Page 10 of 12




use (Dkt. 109 at 7-8) ignores that RRA has not accused                             in its complaint

or identified any alleged act of infringement                                Murias’s speculation

should be disregarded. None of the Texas employees RRA identifies work on I-Q calibration. Dkt.

101-16 (Fontaine Dec. ¶ 3). Contrary to RRA’s assertion that

employees have “knowledge relevant to infringement and the value of the patented features” (Dkt.

109 at 8), none works on the accused products, or on I-Q calibration. Dkt. 101 at 19-20.

       Other Issues: RRA wrongly claims it is undisputed that WDTX is faster than NDCA (Dkt.

109 at 4), but Defendants did dispute this. Dkt. 45 at 13; Dkt. 101 at 36. Contrary to RRA’s

“opportunity costs” characterizations, the “costs” included in Weinstein’s declaration (Dkt. 73-2)

are tied to the amount in controversy between the parties. He nowhere explains what “opportunity”

the public is missing out on, and there is none. And despite RRA’s attempts to spin Monterey (Dkt.

109 at 1), Defendants properly investigated where relevant activities occur. E.g., Dkt. 45 at 2–4,

11–12. It was RRA that violated Monterey by limiting its investigation to Texas. Dkt. 109-12 at

83:5–13 (“I was asked to look at Texas and that’s what I did.”); Dkt. 109-17 at 53:2–53:15.

       B.      RRA Cannot Game Transfer Through Its Stipulations

       RRA’s claimed need for witnesses is mere pretext—its experts in Samsung cited only one

Qualcomm employee (a California-based 30(b)(6) rep), Murias needed no witnesses to opine on

infringement there (Dkt. 109-12 at 38:18–39:10), and after reviewing information on hundreds of

Texas employees, RRA commits to calling only Dr. Ba—a single irrelevant defendant witness—

for his alleged “admissions about the value of the claimed I-Q calibration.” Dkt. 109 at 7. But RRA

does not point to such admission from Dr. Ba’s deposition, and there is none. See Dkt. 73-07 at

20:5-12. That Dr. Ba worked, over a decade ago, on a project for Texas Instruments that had

implications for I-Q calibration in 3G does not make him relevant to this case, and those who work

with Qualcomm chips in the accused 5G Apple products are in California. Dkt. 45-17 ¶¶ 7-10.


                                                5
    Case 6:21-cv-00346-ADA        Document 121          Filed 04/28/22     Page 11 of 12




Dated: April 14, 2022                            Respectfully submitted,

s/ Mark D. Selwyn                                By: Nick Schuneman

J. Stephen Ravel                                 Douglas M. Kubehl
Texas State Bar No. 16584975                     State Bar Number 00796909
Kelly Ransom                                     doug.kubehl@bakerbotts.com
Texas State Bar No. 24109427                     BAKER BOTTS L.L.P.
KELLY HART & HALLMAN LLP                         2001 Ross Avenue, Suite 900
303 Colorado, Suite 2000                         Dallas, TX 75201
Austin, Texas 78701                              Telephone: (214) 953-6500
Tel: (512) 495-6429                              Facsimile: (214) 661-6503
Email: steve.ravel@kellyhart.com
Email: kelly.ransom@kellyhart.com                Nick Schuneman
                                                 Aashish G. Kapadia
OF COUNSEL:                                      BAKER BOTTS L.L.P.
Mark D. Selwyn (Pro Hac Vice)                    98 San Jacinto Blvd., Suite 1500
Joseph F. Haag (Pro Hac Vice)                    Austin, TX 78701
Anh-Khoa Tran (Pro Hac Vice)                     Tel: (512) 322-2500
Henry M. Nikogosyan (Pro Hac Vice)               nick.schuneman@bakerbotts.com
WILMER CUTLER PICKERING HALE                     aashish.kapadia@bakerbotts.com
  and DORR LLP
2600 El Camino Real                              Sarah Guske (Pro Hac Vice)
Suite 400                                        BAKER BOTTS L.L.P.
Palo Alto, California 94306                      101 California Street, Suite 3600
Tel: (650) 858-6000                              San Francisco, CA 94111
Email: mark.selwyn@wilmerhale.com                Tel: (415) 291-6200
Email: joseph.haag@wilmerhale.com                sarah.guske@bakerbotts.com
Email: khoa.tran@wilmerhale.com
Email: henry.nikogosyan@wilmerhale.com           Nick Baniel (Pro Hac Vice)
                                                 BAKER BOTTS L.L.P.
Joseph J. Mueller (Pro Hac Vice)                 1001 Page Mill Road
Monica Grewal (Pro Hac Vice)                     Building One, Suite 200
Annaleigh E. Curtis (Pro Hac Vice)               Palo Alto, CA 94304-1007
Madeleine C. Laupheimer (Pro Hac Vice)           Tel: (650) 739-7585
WILMER CUTLER PICKERING HALE                     nick.baniel@bakerbotts.com
  and DORR LLP
60 State Street                                  Counsel for Defendant Qualcomm
Boston, Massachusetts 02109                      Incorporated
Tel: (617) 526-6000
Email: joseph.mueller@wilmerhale.com
Email: monica.grewal@wilmerhale.com
Email: annaleigh.curtis@wilmerhale.com
Email: madeleine.laupheimer@wilmerhale.com

Attorneys for Apple Inc.



                                             6
     Case 6:21-cv-00346-ADA         Document 121       Filed 04/28/22     Page 12 of 12




                               CERTIFICATE OF SERVICE

     I hereby certify that on April 14, 2022, all counsel of record were served via the Court’s
CM/ECF filing system.


                                                   /s/ Nick Schuneman
                                                   Nick Schuneman




                                              7
